






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-05-00151-CV





Russell J. Verney, Appellant



v.



Carole Keeton Strayhorn, as Comptroller of Public Accounts of the State of Texas;

Greg Abbott, Individually and as Attorney General of the State of Texas;

and Reagan E. Greer, Individually and as Executive Director

of the Texas Lottery Commission, Appellees





FROM THE DISTRICT COURT OF TRAVIS COUNTY, 126TH JUDICIAL DISTRICT


NO. GN404078, HONORABLE STEPHEN YELENOSKY, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N



	The parties have requested that we abate the appeal in this cause, 03-05-00151-CV,
pending the resolution of the appeal in cause number 03-05-00064-CV, the pending appeal from the
grant of two pleas to the jurisdiction, as that case may control the disposition and render moot the
appeal in the instant cause.  Accordingly, we grant the motion and abate the appeal in cause number
03-05-00151-CV pending our resolution of cause number 03-05-00064-CV.  The appeal in 03-05-00151-CV will be reinstated on the date that our opinion is handed down in cause number 03-05-00064-CV.


					                                                                                    

					W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices B. A. Smith and Puryear

Filed:   May 12, 2005


